Case 1:05-mc-01008-.]DT-STA Document 8 Filed 08/23/05 Page 1 of 2 Page|D 7

 

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IN THE UNITED STATES DISTRICT COURT 33 \O
FoR THE wEsTERN DISTRICT oF TENNESSEE 0 /°4, 'C?
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UNITED sTATES oF AMERICA 4
vs. Case No.: l:OB-mc-lOOB~Ol-T
In Re: Cr.No.: l:OB-cr-lOlO4-T

USA vs. Jerold Seay, et al
REG INA AS TON

JUDGMENT FOR FAILURE TO _APPEAR OF WITNESS

This cause Came to be heard on August 23, 2005, Assistant
U. S. Attorney Richard Leigh Grinalds, representing the
government, and the defendant appeared in person and with
counsel, Richard Lowe Finney, who was appointed and admits to
the allegation of being in Contempt for failure to appear as a
material witness in the above referenced criminal case. After
questioning the defendant, hearing statements of counsel,
the Court finds that the defendant is in contempt for failure to
comply with a court subpoena.

IT IS THEREFORE ORDERED that the defendant be sentenced to
the custody of the Bureau of Prisons for a period of NINETY (90)
DAYS with no further supervision.

The defendant is remanded to the custody of the United
States Marshal.

IT Is So oRDERED. AM%M b 3 a f

D. TODD
UN ED SPJYFES DISTRICT JUDGE
DATE. M SWF

 

This document entered on the docket s et in compliance
with F\ule 58 and,.'or 79 {a) FRCP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

